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                                                          United States Bankruptcy Court
                                                          Eastern District of North Carolina
                                                                Greenville Division


Debtor 1              Daniel Acosta                                                    Social Security number or ITIN        xxx−xx−4542
                      First Name   Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                               Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                       EIN     _ _−_ _ _ _ _ _ _
                                                                                       Date case filed for chapter 7 10/5/18
Case number:          18−04905−5−JNC


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.



                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Daniel Acosta

2.      All other names used in the
        last 8 years

3.     Address                                   1877 Altons Tr
                                                 Greenville, NC 27834

4.     Debtor's attorney                         Allen C Brown                                      Contact phone 252−752−0952
                                                 Allen C. Brown, PA
       Name and address                          PO Drawer 1909
                                                 Winterville, NC 28590

5.     Bankruptcy trustee                        Stephen L Beaman                                   Contact phone 252 237−9020
                                                 Stephen L. Beaman, PLLC
       Name and address                          P. O. Box 1907
                                                 Wilson, NC 27894
                                                                                                               For more information, see page 2 >
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Debtor Daniel Acosta                                                                                              Case number 18−04905−5−JNC


6. Bankruptcy clerk's office                      300 Fayetteville Street, 4th Floor                          Office Hours: 8:30 am − 4:30 pm
                                                  P.O. Box 791
   Documents in this case may be filed at         Raleigh, NC 27602                                           Contact phone: 919−856−4752
   this address. You may inspect all records
   filed in this case at this office or online
   at www.pacer.gov.                                                                                          Date: 10/9/18


7. Meeting of creditors                           November 6, 2018 at 09:30 AM                                Location:

   Debtors must attend the meeting to be          The meeting may be continued or adjourned to a              Randy D. Doub United States
   questioned under oath. In a joint case,        later date. If so, the date will be on the court            Courthouse, Room 108, 150
   both spouses must attend. Creditors
   may attend, but are not required to do so.     docket.                                                     Reade Circle, Greenville, NC
                                                                                                              27858

                                                                                                              Please bring a government issued
                                                                                                              picture ID with you to the meeting
                                                                                                              of creditors. This ID is required for
                                                                                                              entry into the building.

8. Presumption of abuse                           The presumption of abuse does not arise.

   If the presumption of abuse arises, you
   may have the right to file a motion to
   dismiss the case under 11 U.S.C. §
   707(b). Debtors may rebut the
   presumption by showing special
   circumstances.


9. Deadlines                                      File by the deadline to object to discharge or              Filing deadline: 1/7/19
                                                  to challenge whether certain debts are
   The bankruptcy clerk's office must             dischargeable:
   receive these documents and any
   required filing fee by the following
   deadlines.                                     You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
   Please do not file a proof of claim unless     will send you another notice telling you that you may file a proof of claim and stating the
   you receive a notice to do so.                 deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Electronic noticing                           Parties may opt to receive notices from the court via email rather than U.S. Mail.
                                                  Register at https://bankruptcynotices.uscourts.gov.

13. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
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